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                   Exhibit A
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                                                                                                   Exhibit A to Joint Proposal Regarding Briefing of Threshold Issues

                                                                                                                                                                                                                                                                      Asserts Allegation(s)                                        Asserts Allegation(s)
                       State of                               D. Mass. Case                                         Asserts Allegation(s) of          Asserts Allegation(s) of Future Risk of Asserts Allegation(s) of Receipt of Asserts Allegation(s) of Mitigation                         Asserts Allegation(s) of Loss of
Last Name First Name                Defendant Name                          Asserts Allegation(s) of Fraud?                                                                                                                                                           of Benefit of the                                            of Invasion of
                       Residence                              No.                                                   Reimbursable Fraud?               Harm?                                   Spam Communications?                Efforts?                                                    Value of PII?
                                                                                                                                                                                                                                                                      Bargain?                                                     Privacy?

                                                                                                                                                      Includes alleged anxiety or emotional
                                                                             Includes alleged unauthorized credit   Includes alleged unauthorized
                                                                                                                                                      distress, future risk of identity theft, PHI   Includes alleged receipt of spam   Includes alleged loss of time,                        Includes allegation information is
                                                                             card or other accounts opened, tax     credit card charges, debit card
                                                                                                                                                      impact, SSN impact, financial account          phone calls, text messages, and    payment for credit monitoring, and                    on the Dark Web and/or alleged
                                                                             fraud, fraudulent credit inquiry/      charges, and other unauthorized
                                                                                                                                                      information impact, and other account          emails                             credit freeze                                         diminution of value of PII
                                                                             report, and other actual fraud.        bank activity
                                                                                                                                                      credential impact


Williams   Peggy       California   Progress Software Corp.   1:24-cv-10501 N                                       N                                 Y                                              N                                  N                                    N                N                                    N



Tucker     Reina       Louisiana    Progress Software Corp.   1:23-cv-12610 N                                       N                                 Y                                              N                                  Y                                    Y                Y                                    Y



Berry      Jason       Louisiana    Progress Software Corp.   1:23-cv-12343 N                                       N                                 Y                                              N                                  N                                    N                N                                    N



McAdam     Annie       Louisiana    Progress Software Corp.   1:23-cv-12350 N                                       N                                 Y                                              N                                  Y                                    Y                Y                                    Y




Defendants do not admit that any of the purported injuries identified in this chart have been plausibly alleged or otherwise satisfy the pleading standards required under Rule 8 of the Federal Rules of Civil Procedure.
